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VIRGINIA: IN THE CIRCUIT COURT FOR THE COUNTY OF TAZEWELL

Jerry Vance
382 Edgewater Drive
Cedar Bluff, VA 24609

and

Fran Vance

382 Edgewater Drive
Cedar Bluff, VA 24609

Plaintiffs,

Vv.

Wells Fargo Bank, N.A.

R/A Corporation Service Company
Bank of America Center, 16" Floor
1111 E. Main Street

Richmond, VA 23219

and

Professional Foreclosure Corporation of Virginia

R/A CT Corporation System
4701 Cox Road, Suite 285
Glen Allen, VA 23060

Defendants.

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COMPLAINT

Case No: OL (17 | 9a

Complaint and Request for Preliminary Injunction

To the Honorable Judge of Said Court:

Pursuant to Virginia Law, Plaintiffs, Jerry Vance (“Mr. Vance”) and Fran Vance (‘‘Mrs.

Vance”) file this Complaint, and state upon information and beliefs as follows:

I. Parties

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EXHIBIT

A
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1. Plaintiffs are natural persons who reside in the Commonwealth of Virginia at 382
Edgewater Drive ("the property") in the city of Cedar Bluff, Virginia.

2. Wells Fargo Bank, N.A. (“Wells Fargo”), is a for profit business entity doing business in
the Commonwealth of Virginia.

3. Professional Foreclosure Corporation of Virginia (“Substitute Trustee”), as substitute
trustee, is a for profit business entity doing business in the Commonwealth of Virginia.

IL. Facts
4. Plaintiffs own a tract of land in the City of Cedar Bluff which is described as follows:

All that certain lot containing 0.75 acres situate on the County Road between Richlands
and Cedar Bluff, Tazewell County, Virginia, and being a part of the property which said
Mattie P. Williams inherited from her father, Dr. James Peery, and bound and described
as follows: BEGINNING at a stake in east line of County Road right of way, thence, with
said road N. 54? 40' W, 54 feet, N. 38? 15' W. 29.4 feet, N. 287 35' W. 50,4 feet, N. 21?
20' W. 66.6 feet, N. 127 50' W. 121 feet. Thence leaving road S. 88? 40’ E, 197.2 feet, to
a stake in line of Altizer Subdivision and with same S. 12725’ W. 257.8 feet to the
BEGINNING, line bearing S. 82? 40’ E. 197.2 feet being in line with the south boundary
line of an existing street in the Altizer Subdivision. AND further desoribed in the above
Deed of Trust. (Tax Map No. 106-A4-A-0015)

5. Plaintiffs entered into a mortgage loan contract (“the loan”) in July of 2005 in which the
Plaintiffs were the borrowers. The loan was evidenced by anote (“the Note”) and secured
by a deed of trust (“the Deed of Trust”), both of which were valid contracts signed by the

Plaintiffs,

6. The deed of trust sets forth the following:

"This Security Instrument shall be governed by federal law and the law of the jurisdiction
in which the Property ts located. All rights and obligations contained in this Security
Instrument are subject to any requirements and limitations of Applicable Law."

7. The deed of trust defines "Applicable Law" as "all controlling applicable federal, state
and local statutes, regulations, ordinances and administrative rules and orders (that have

the effect of law) as well as all applicable final, non-appealable judicial opinions."
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8. The Plaintiffs fell behind in 2013, after Mrs. Vance experienced extreme heart conditions
that caused her to constantly be ill. Due to this issue, she was unable to keep a steady

income.

9. In addition, the Plaintiffs experienced a reduction in income due to high cost car repairs
which added to their financial strain.

10, Even though the Plaintiffs were struggling financially, they still made payments to Wells
Fargo every other month in hopes of keeping their loan on track,

11. In April of 2015, the Plaintiffs had no other choice than to file Chapter 13 Bankruptcy.

12. After this, the Plaintiffs were unable to afford both their high bankruptcy payments and
monthly mortgage payments.

13. In addition, the Plaintiffs believed their past due mortgage payments were included in the
bankruptcy and their bankruptcy attorney would be handling that issue for them.

14, Recently, the Plaintiffs have taken steps to have their bankruptcy concluded, this is when
they found out their loan was in foreclosure status.

15. Mrs. Vance reached out to Heath J. Thompson P.C. (“HJPTC”) to assist her with the
mortgage issue.

16. A representative from HJTPC contacted Wells Fargo to submit the Plaintiffs for loss
mitigation options.

17. When HJPTC reached out to Wells Fargo, they refiised to speak with her due to a
bankruptcy hold on the account.

18. HJPTC reached out to the Substitute Trustee, who confirmed there should no longer be a
bankruptcy hold on the account.

19. Despite this, Wells Fargo representatives still refused to speak with HJTPC regarding the
account.

20. Regardless, HJTPC faxed Wells Fargo a loan modification package to be reviewed by
Wells Fargo.
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21. Despite these ongoing issues, Wells Fargo has not postponed the upcoming foreclosure
auction.

22. As of the filing of this suit, the defendant Substitute Trustee intends to sell Plaintiff's
property at auction on August 8, 2017 at 4:15 p.m.

Plaintiff alleges:
II. Violation of Regulation X
Incorporating Paragraphs 1-22:

23. Wells Fargo has violated the Real Estate Settlement Procedures Act (RESPA) Regulation
X also known as 12 CFR 1024.

24. 12 CFR 1024.39(a)’s “Early Intervention Rule” requires a loan servicer to make live
contact with a borrower once the borrower is thirty-six days past due on the account for
the purposes of noticing them of loss mitigation options which may be available.

25. Wells Fargo did not contact Mrs. Vance regarding her loan delinquency.

26. 12 CFR 1024,41(c) requires that a loan servicer provide a delinquent borrower a written
notice about loss mitigation which must be dispatched to the borrower's primary
residence. In addition, this notice must be clear and conspicuous listing the loss
mitigation options available and inform the borrower of her designated point of contact. .

27. Wells Fargo did not dispatch any of the required written notices to Plaintiff within 45
days of her delinquency after leaving bankruptcy.

28. Plaintiff's attempts to apply for a loan modification have been frustrated by Wells
Fargo’s refusal to speak with counsel regarding the loan. Despite these attempts to
stonewall, a full and complete loan modification package has been submitted to Wells

Fargo,

29. Wells Fargo has placed and now maintains a foreclosure sale date of August 8, 2017,
despite the fact that the loan should be eligible for a loan modification application review

and that Wells Fargo failed to provide appropriate notice to the Plaintiffs,

30. Plaintiffs have been damaged by Wells Fargo’s violation of the CFPB guidelines to the
point at which they will lose her home due to Wells Fargo’s negligence.
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IV. The Defendant's Actions Constitute a Breach of the Duty of Good Faith and Fair
Dealing as Provided in the Deed of Trust and Note

Incorporating Paragraphs 1-30:

31, The Note and Deed of Trust are valid binding, contracts,

32. Wells Fargo has a duty to exercise its rights under the Deed of Trust and Promissory Note
in good faith.

33. Every contract imposes an obligation of good faith in its performance and enforcement,

34, Wells Fargo has breached the implied covenant of good faith and fair dealing in the Note
and Deed of Trust by improperly refusing to discuss a potential loan modification
solution for Mrs. Vance by falsely claiming the home was in bankruptcy.

35, Additionally, Wells Fargo breached their duty of good faith by failing to service the loan
in accordance with the Consumer Financial Protection Bureau's regulations, effectively
making it impossible for Plaintiff to exercise her loss mitigation options.

V. Preliminary Injunction

Incorporating Paragraphs 1-35:

36. A Preliminary Injunction in Virginia requires two elements be met. The first requirement
is a showing of lack of an adequate legal remedy. The second element is a balance of

hardships between the parties involved.

37. The “balancing the hardships” of the parties.is divided into four factors:
a. likelihood of irreparable harm to the plaintiff if the preliminary injection is not

granted
b. the likelihood of harm to the defendant if the preliminary injunction is granted;

c. the likelihood the plaintiff will succeed on the ‘merits; and
d, the public interest.

38. There is no legal remedy available to Plaintiffs besides an injunction. A preliminary
injunction would preserve the status quo until the complaint can be reviewed and the
matter adjudicated, there is no other remedy at law to stop or postpone the foreclosure

activity. ‘

39, Based on the “balancing the hardships” factors, the Plaintiffs are entitled to an Injunction
to stop the scheduled foreclosure sale of their home.
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40. The likelihood of irreparable harm to the Plaintiffs is exponentially grave in comparison
to the minor harm to the Defendants as the Plaintiffs will immediately lose their home to
an improperly scheduled foreclosure sale.

41, Any harm to the Defendants would be minor as it would only consist of the costs of
having to re-advertise the sale. However, this harm would be transferred to the Plaintiffs
as the Deed of Trust allows for Wells Fargo to charge Plaintiff's account for any
foreclosure costs and fees,

42. Plaintiffs are likely to succeed on the merits of this case as the Defendants clearly and
blatantly violated the obligations and duties imposed upon them as a loan servicer and
substitute trustee.

43. Finally, the actions taken by Wells Fargo and Substitute Trustee are in violation of public
policy, undermine government efforts to improve the economy during the current fiscal
crisis, and directly results in harm to the public good. Granting the injunction would,
therefore, not adversely affect the public interest,

WHEREFORE, your Plaintiff prays that the Court ENJOIN and RESTRAIN Defendants
and each of them, their servants, agents, employees or other parties acting on their behalf from
instituting foreclosure proceedings on the instant property until such time as this Complaint may
be adjudicated. Any foreclosure action taken by Defendant Bank should be deemed non-
enforceable, Plaintiff also requests compensatory damages against Wells Fargo Bank, N.A. in the

amount of TWENTY-FIVE THOUSAND DOLLARS AND NO CENTS ($25,000.00).

Respectfully Submitted,
Jerry Vance
Fran Vance

Of Counsel: We . LE Lo
Palmer E. Hurst, VSB #90 04

Heath J. Thompson VSB#66748
Counsel for Plaintiff

Heath J, Thompson, P.C,

4224 Holland Road Suite 108
Virginia Beach, VA 23452
757-480-0060 (0)
757-257-0088 (f)
Palmer@heaththompson.com
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CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that on the 3" day of August, 2017, I caused the foregoing
Complaint to be served via personal service and Sheriff's Service on:

Wells Fargo Bank, N.A,

R/A Carporation Service Company
Bank of America Center, 16" Floor
1111 E, Main Street

Richmond, VA 23219

and

Professional Foreclosure Corporation of Virginia

R/A CT Corporation System
4701 Cox Road, Suite 285 / fo.
Glen Allen, VA 23060 | 7

Palmer E. Hurst, VSB #90804
Heath J. Thompson, VSB# 66748
Heath J. Thompson, P.C,

4224 Holland Road Suite 108
Virginia Beach, VA 23452
757-480-0060 (0)

757-257-0088 (F)
Palmer@heaththompson.com
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VIRGINIA:

IN THE CIRCUIT COURT OF THE COUNTY OF TAZEWELL

 

JERRY VANCE, ef al.,

Plaintiffs,
v. CL17-929
WELLS FARGO BANK, N.A., ef al,

Defendants.

 

 

DEMURRER
COMES NOW the Defendant, Professional Foreclosure Corporation of Virginia, as
Substitute Trustee (“PFC”), by counsel, and pursuant to Virginia Code § 8.01-273, demurs to the
Complaint and Request for Preliminary Injunction (“Complaint”) filed by the Plaintiffs, Jerry
Vance and Fran Vance, for failing to state a claim upon which relief demanded can be granted
and, in support thereof, states as follows:

1. Plaintiffs’ Complaint fails to plead any factual allegations against PFC that would
impute liability for conduct or wrongdoing in its sole capacity as substitute trustee. Instead,
Plaintiffs’ action primarily focuses on the conduct of Wells Fargo Bank, N.A. in their three
causes of action.

2. Plaintiffs’ claim of a “Violation of Regulation X” should be dismissed with
prejudice as to PFC. The review of a borrower's ability to obtain loan modification falls outside
the scope of a trustee’s duties defined by the Deed of Trust and Virginia Code § 55-59 et seq.
On the same grounds, the Court should also dismiss the negligence claim against PFC. “A

plaintiff who seeks to establish actionable negligence must plead the existence of a legal duty,
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violation of that duty, and proximate causation which results in injury.” Graves v. Mortg. Elec.
Registration Sys., 2011 Va. Cir. LEXIS 97, at *14 (Fairfax County) (citing Delk vy,
Columbia/HCA Healthcare Corp., 259 Va. 125, 132 (2000)). Although an allegation of
negligence is sufficient without specifying the particulars of negligence, see Va. Sup. Ct. R.
3:18, a plaintiff must still allege facts sufficient to support each element. See Rodriguez v, N.
Va, Elec. Coop., 79 Va. Cir. 266, 270 (Loudoun 2009) (Chamblin, J.). Here, the Plaintiffs
utterly fail to prove any of the elements in support of a negligence claim, which the Court
should therefore dismiss with prejudice.

3. Plaintiffs’ claim for “breach of the duty of good faith and fair dealing as provided
in the Deed of Trust and Note” should be dismissed with prejudice as to PFC. The
overwhelming majority of Virginia’s federal courts refuse to impose duties not found in the
deed of trust. In Carter v, Countrywide Home Loans, Ine., for example, the U.S. District Court
for the Eastern District of Virginia held that “[u]nder Virginia law, . . . deeds of trust are treated
under the same principles as contracts, and the trustee only owes those duties that are listed in
the deed of trust itself.” 2008 U.S. Dist. Lexis 67014 (E.D. Va. Sept. 2, 2008); see also Horvath
v. Bank of N.Y., N.A., U.S. Dist. Lexis 19965, at *5 (E.D. Va. Jan, 2010) aff'd, 641 F.3d 617
(4th Cir. 2011) (“Trustees only owe duties listed in the deed of trust.”). Virginia's courts have
used this limitation to reject the assertion that the trustee bears generalized duties, as the
Plaintiffs have done here.

4, Plaintiffs’ claim for a preliminary injunction should be dismissed with prejudice.
The time and date of the scheduled foreclosure sale has lapsed, and the basis for such

extraordinary remedy is inherently moot. Additionally, there is no substantial likelihood that the
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Plaintifls will suceved on the merits, considering the arguments made in this pleading and those
that will have been made by the Defendant. Wells Fargo Bank, NLA.

5, Pursuant to Rules 3:8 and 4:11 of the Rules of the Supreme Court of Virginia.
PPC reserves its right to file a memorandum in supporlof this Demurrer. absent leave of Court,
at least fourteen (1-4) days before the hearing scheduled for its respective hearing. PFC adopts
and incorporates those legal arguments that will have been made by Wells Fargo Bank, NA. to
the extent that thes apply to PPC as its duly appointed substitute trustee.

WIIEREPORE, the Court should sustain Defendant Professional Foreclosure Corporation
of Virginia's Demurrer. dismissing the Complaint with prejudice as to cach and every cause of
action against them. awarding reasonable attorney’s lees and costs to the extent that they are
recoverable under the Promissory Note. Deed of Trust. and/or Applicable Law, and for such
other and further rchel that the Court deems equitable and just.

Respectfully submitted.
PROFESSIONAL FORECLOSURE

CORPORATION OF VIRGINIA, as
Substitute Trustee

SAM 7 )

Dated: August 25, 2017 13s;

 

Of Counsel

Leonard C. Pengeo. bsq. (VSB #76398)
SHAPIRO & BROWNE LP

10027 Balls Ford Road. Suite 200

Manassas, Virginia 20109

(703) 449-5800 (Telephone)

(703) 449-5850 (Facsimile)

hengeo dlogs.com

Counsel for the Defendant, Professional
Foreclosure Corporation af Virginia, as
Substittie frusice

S&B bile No. [4-24152]
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CERTIFICATE OF SERVICE
Thereby certify that on this 25th day of August. 2017. | caused a true copy of the
foregoing Demurrer to be delivered by United States first-class mail. poskige prepaid. to the
following:

Palmer be. Hurst
4224 Holland Road. Suite Las
Virginia Beach, Virginia 23452

Wells Fargo Bank, NLA.
Corporation Service Company, R/A
Bank of America Center, 16th Floor

V111 bast Main Street
Richmond. Virginia 232 v 9)

as PA

f Leonard C, Tengeo

 
